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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


 UNITED STATES OF AMERICA,                :
                                          :
       Plaintiff,                         :
                                          :
       v.                                 :          CIVIL ACTION NO.
                                          :          1:18-cv-5774-AT
 NANCY ZAK, et al.,                       :
                                          :
       Defendants.                        :

                                      ORDER

      This matter is before the Court on the Government’s Motion to Certify

Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b) [Doc. 317] and Motion to

Stay Counterclaim [Doc. 318]. For the following reasons, the Court DENIES both

motions.

I.    Background

      The Government initiated this action on December 18, 2018, nearly three

years prior to the entry of this Order. Since that time the parties have filed several

motions to dismiss, addressing both the Government’s claims and the

counterclaim raised by Defendant Claud Clark III.

      In the Complaint, the Government alleged that Defendants participated in a

“highly structured — and abusive — tax scheme involving the syndication of

conservation easement donations.” (Compl., Doc. 1 ¶¶ 1–2.) The government

alleged that these transactions entailed “sale of grossly overvalued federal tax
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deductions under the guise of investing in a partnership.” (Id. ¶ 2.) Four of the six

Defendants — Ecovest Capital, Inc., Alan N. Solon, Robert M. McCullough, and

Ralph R. Teal, Jr. — filed an Answer to the Complaint on February 20, 2019. (Doc.

15.) The other two Defendants — Clark and Defendant Nancy Zak — separately

moved to dismiss the Complaint. The Court denied Clark’s motion and granted

Zak’s motion in part on December 10, 2019. (Doc. 119.) Clark and Zak both filed

Answers shortly thereafter. 1

        In his Answer, Clark asserted a counterclaim that the Government

improperly disclosed his tax return information in violation of 26 U.S.C. §§ 6103 &

7431.    (Doc. 123 at 115–27.)          The Government moved to dismiss Clark’s

counterclaim and the Court granted the Government’s motion, dismissing Clark’s

counterclaim without prejudice. (Doc. 161); (Doc. 202). Clark then filed an

Amended Counterclaim and the Government filed another motion to dismiss. 2

(Doc. 206); (Doc. 208). In its motion to dismiss Clark’s Amended Counterclaim,

the Government argued that Clark’s tax return information was lawfully disclosed

when the Government filed the Complaint in the present action. (Doc. 208 at 11.)

And, relying on Lampert v. United States, 854 F.2d 335 (9th Cir. 1988), the

Government argued that because the Complaint was by that point a matter of

public record, the United States Department of Justice’s subsequent republication



1 Zak later reached a settlement with the Government and the Court entered a Final Judgment of
Permanent Injunction against Zak. See (Doc. 271.)
2 The Government also amended its own complaint several weeks after Clark amended his

counterclaim. See (Doc. 225.)


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of that same information through the issuance of a press release therefore did not

violate § 6103. (Doc. 208 at 11–12.)

      The Court denied the Government’s motion to dismiss on July 6, 2021.

(Order, Doc. 309.) In that Order, the Court emphasized that the Eleventh Circuit

has never recognized the Ninth Circuit’s “implicit exception” to § 6103’s

confidentiality requirement for “all tax return information that has become a

matter of public record,” and that several other Circuits had expressly refused to

do so. (Id. at 9, 13.) The Court was more persuaded by the narrower approach

taken by the Fourth, Fifth, Seventh, and Tenth Circuits, under which liability under

§ 6103 depends on the immediate source of the disclosed information rather than

its public or non-confidential status. (Id. at 11–12.) The Court also expressed

doubts that the Seventh Circuit’s rule permitting the subsequent republication of

return information contained in a judicial opinion would similarly apply to the

republication of return information contained in a complaint that was prepared by

the Government’s own lawyers. (Id. at 14–15.)

      On August 13, 2021, the Government moved to certify the Court’s Order for

an interlocutory appeal under 28 U.S.C. § 1292(b). (Doc. 317.) In conjunction with

that motion, the Government also moved to stay discovery pending the resolution

of its 1292(b) motion and, in the event that an appeal were certified, the resolution

of the appeal. (Doc. 318.)




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II.   Legal Standard

      To be granted permission for an interlocutory appeal of a nonfinal order

pursuant to 28 U.S.C. § 1292(b), a party must demonstrate that there is “a

controlling question of law as to which there is substantial ground for difference of

opinion” and that an immediate appeal will “materially advance the ultimate

termination of the litigation.” 28 U.S.C. § 1292(b); see McFarlin v. Conseco Servs.,

LLC, 381 F.3d 1251, 1264 (11th Cir. 2004). Certification for immediate appeal of a

nonfinal order under § 1292(b) is an extraordinary measure, which is permitted

only in exceptional circumstances. McFarlin, 381 F.3d at 1256. Interlocutory

appeals under § 1292(b) “were intended, and should be reserved, for situations in

which the court of appeals can rule on a pure, controlling question of law without

having to delve beyond the surface of the record in order to determine the facts.”

Id. at 1259. Indeed, the Supreme Court has instructed that an appeal gives the

higher court “a power of review, not one of intervention.” Cohen v. Beneficial

Indus. Loan Corp., 337 U.S. 541, 546 (1949). Section 1292(b) disallows appeals

“from any decision which is tentative, informal or incomplete” or on any matter

that “remains open, unfinished or inconclusive.” Id.

      In McFarlin, the Eleventh Circuit explained that a “controlling question of

law” as contemplated by § 1292(b) is “a question of the meaning of a statutory or

constitutional provision, regulation, or common law doctrine.” McFarlin, 381 F.3d

at 1258 (citing Ahrenholz v. Bd. of Trs. of the Univ. of Ill., 219 F.3d 674, 676 (7th

Cir.2000)). The court opined,


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      The term ‘question of law’ does not mean the application of settled law
      to fact. It does not mean any question the decision of which requires
      rooting through the record in search of the facts or of genuine issues
      of fact. Instead, what the framers of § 1292(b) had in mind is more of
      an abstract legal issue or what might be called one of ‘pure’ law,
      matters the court of appeals ‘can decide quickly and cleanly without
      having to study the record.’

Id. (internal citations omitted) (citing Ahrenholz, 219 F.3d at 676–77).

Accordingly, “[t]he antithesis of a proper § 1292(b) appeal is one that turns on . . .

whether the district court properly applied settled law to the facts or evidence of a

particular case.” Id. at 1259.

      With regard to the requirement that there be a “substantial ground for

difference of opinion” to warrant an interlocutory appeal, the Eleventh Circuit has

held that a question of law as to which the appeals court is in “complete and

unequivocal” agreement with the district court is not a proper one for § 1292(b)

review. Id. (quoting Burrell v. Bd. of Trs. of Ga. Military Coll., 970 F.2d 785, 788–

89 (11th Cir. 1992)). A “substantial ground for difference of opinion” may also exist

where “the issue is difficult and of first impression, a difference of opinion as to the

issue exists within the controlling circuit, or the circuits are split on the issue.”

U.S., ex rel. Powell v. Am. InterContinental Univ., Inc., 756 F. Supp. 2d 1374,

1378–79 (N.D. Ga. 2010) (citing cases). “Neither the mere lack of authority on the

issue nor the claim that the district court’s ruling is incorrect constitutes a

substantial ground for difference of opinion.” Id. at 1379 (citing In re Scientific-

Atlanta, Inc. Sec. Litig., No. 1:01-cv-1950, 2003 WL 25740734, at *1 (N.D. Ga. Apr.

15, 2003)).


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       In determining whether an immediate appeal will “materially advance the

ultimate termination of the litigation,” the Court considers the extent to which

additional time and expense may be saved by the appeal and whether resolution of

a controlling legal question would serve to avoid a trial or otherwise substantially

shorten the litigation. McFarlin, 381 F.3d at 1259; see Dimuccio v. D’Ambra, 779

F. Supp. 1318, 1324 (M.D. Fla. 1991).

III.   Discussion

       In its § 1292(b) motion, the Government seeks to certify the following

question for appeal:

       Whether 26 U.S.C. § 6103 prohibits publication by the government of
       taxpayer information that has already been lawfully and publicly
       disclosed by the government in a judicial proceeding pertaining to tax
       administration?

(U.S. Mot. to Certify, Doc. 317-1 at 2.) To determine whether the Government has

satisfied the requirements to certify this question for an interlocutory appeal, the

Court will begin by addressing whether the Government has raised a controlling

question of law that presents a substantial ground for difference of opinion. Next,

the Court will consider whether an immediate appeal would materially advance the

litigation.

       A.     Whether the Question Presented Is a Controlling Question
              of Law that Presents a Substantial Ground for Difference of
              Opinion

       The Government argues that how to properly interpret § 6103 is a

controlling question of law, and that a substantial ground for different opinion



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exists as to the correct interpretation because it is a difficult issue of first

impression in this Circuit and other Circuits that have addressed the issue are split.

(U.S. Mot. to Certify, Doc. 317-1 at 10, 12.) Clark does not dispute that how to

properly interpret § 6103 is a controlling question of law, but he argues that “the

lack of controlling authority, standing alone, cannot satisfy the substantial ground

element.” (Def.’s Opp’n to Mot. to Certify, Doc. 320 at 8). In response, the

Government contends that to determine whether there is a substantial ground for

difference of opinion on a controlling question of law “[t]he proper inquiry focuses

on the existence of a Circuit split and the strengths of the arguments in support of

the conflicting decisions,” (U.S. Mot. to Certify Reply, Doc. 326 at 4) (citing Ga.

State Conf. of NAACP v. Fayette Cnty. Bd. of Comm’rs, 952 F. Supp. 2d 1360, 1362

(N.D. Ga. 2013)). The Court agrees with the Government’s articulation of the

relevant standard, but nevertheless finds that there is no substantial ground for

difference of opinion on this issue even if the Government could establish that it is

a controlling question of law.

      In its Order, the Court extensively addressed “the strengths of the arguments

in support of the conflicting decisions” and concluded that no blanket public

records exception exists in § 6103. The Court did not find the Ninth Circuit’s

reasoning in Lampert to be persuasive because, as Clark argues in his opposition,

“no public records exemption exists in the statute,” and nothing in the plain

language of the statute suggests that Congress intended for such an exemption to

exist. (Def.’s Opp’n to Mot. to Certify, Doc. 320 at 12.)


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       As the Court observed in its Order, although § 6103 includes a number of

express exceptions to the general rule against disclosure, (Order, Doc. 309 at 4), a

blanket public records exception is not one of them. Indeed, the Ninth Circuit itself

recognized that its own interpretation of § 6103 is “not consistent with ‘a strict,

technical reading of the statute.’” (Id. at 9 n.3) (quoting Lampert, 854 F.2d at 337–

38).

       Moreover, as the Fifth Circuit observed, “the fact that an event is not wholly

‘private’ does not mean that an individual has no interest in limiting disclosure or

dissemination of the information.” (Id. at 11) (quoting Johnson v. Sawyer, 120

F.3d 1307, 1323 (5th Cir. 1997) (quoting U.S. Dep’t of Justice v. Reporters Comm.

for Freedom of the Press., 489 U.S. 749, 770 (1989)) (cleaned up))). Consistent

with this principle, by enacting a broad “prophylactic ban” on disclosure of

taxpayers’ return information, “Congress was determining that a taxpayer has a

statutorily created ‘privacy’ interest in all his tax return information, despite the

fact that some of it is not entirely ‘secret’.” (Id.) (emphasis in original) (quoting

Johnson, 120 F.3d at 1323). This broad prophylactic ban is reflected in the plain

language of the statute, which states that “[r]eturns and return information shall

be confidential . . . except as authorized by this title,” and that “no officer or

employee of the United States, . . . shall disclose any return or return information

obtained by him in any manner in connection with his service . . . .” (Id. at 3)

(emphasis added) (quoting 26 U.S.C. § 6103(a)).




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      Relying on the Merriam-Webster Dictionary, the Government argues that

something that has already been made public cannot be “disclosed” for purposes

of § 6103. (U.S. Mot. to Certify Reply, Doc. 326 at 7.) But Merriam-Webster’s

definition of the term “disclose” carries little weight for purposes of how to

properly interpret § 6103 given that § 6103 itself defines what qualifies as a

disclosure for purposes of the statute. As the Court noted in its Order, § 6103

broadly defines a “disclosure” as “the making known to any person in any manner

whatever a return or return information.” (Order, Doc. 309 at 4) (quoting 26

U.S.C. § 6103(b)(8)). Making a taxpayer’s return information “known” to others

by means of a press release, as allegedly occurred here, would surely qualify.

      As an alternative, the Government argues that even if the immediate source

test were to apply instead of the Ninth Circuit’s blanket public records exception,

a substantial ground for difference of opinion still exists as to the correct

application of the immediate source test. More specifically, the Government

contends that the Court adopted a “modified version” of the immediate source test

by distinguishing between disclosure of information that came from a judicial

opinion and disclosure of information that came from a complaint that was

prepared by the Government’s own lawyers. (U.S. Mot. to Certify, Doc. 317-1 at

14–15.) But the Seventh Circuit already acknowledged a potential distinction

between these two factual scenarios in Thomas v. United States, 890 F.2d 18 (7th

Cir. 1989), when it delineated between situations in which “the IRS ‘having lawfully

disclosed return information in one public place, wishes to disclose it in another


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and more public place’” and those in which “the IRS simply ‘wishe[d] to trumpet

its [legal] victory to [the taxpayer’s] neighbors.’” (Order, Doc. 309 at 12) (quoting

Thomas, 890 F.2d at 21). This Court simply encountered a different factual

scenario than the court in Thomas. Put differently, the Court’s application of the

immediate source test was not a “modified version” of the immediate source test;

it was an application of the same test to a different set of facts. The Government

may disagree with how the Court applied the immediate source test to “somewhat

new facts,” but that does not establish a substantial ground for difference of

opinion warranting a 1292(b) certification. 3              Consumer Fin. Prot. Bureau v.

Frederick J. Hanna & Assocs., P.C., 165 F. Supp. 3d 1330, 1339 (N.D. Ga. 2015);

see McFarlin, 381 F.3d at 1262 (finding that disagreement about how to apply the

law to a “particular factual scenario” was “not enough to upset the usual course of

proceedings and permit an interlocutory appeal”); see also Simpson v. Carolina

Builders Corp., 222 F. App’x 924, 925 (11th Cir. 2007) (finding that disagreement

about “the application of this law to the facts that is disputed here . . . does not

meet the 28 U.S.C. § 1292(b) standard”).

       At bottom, “[n]either the mere lack of authority on the issue nor the claim

that the district court’s ruling is incorrect constitutes a substantial ground for




3 It is doubtful that how to properly apply the immediate source test to this factual scenario would

even qualify as a controlling question of law in the first instance because an interlocutory appeal
of that issue would ultimately “turn[ ] on . . . whether the district court properly applied settled
law to the facts or evidence of a particular case” rather than a pure question of law that an
appellate court could “decide quickly and cleanly without having to study the record.” See
McFarlin, 381 F.3d at 1258–59.


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difference of opinion.” United States ex rel. Powel, 756 F. Supp. 2d at 1379 (citing

In re Sci.-Atlanta, 2003 WL 25740734, at *1). Rather, “[t]he ‘substantial ground

for a difference of opinion’ within the meaning of § 1292(b) must arise out of a

genuine doubt as to the correct applicable legal standard that was relied on in the

order.” DeBose v. Univ. of S. Fla. Bd. of Trs., 8:15-cv-2787, 2018 WL 8919876, at

*6 (M.D. Fla. Mar. 23, 2018) (emphasis added) (quoting In re Worldcom, Inc., No.

M-47 HB, 2003 WL 21498904, at *10 (S.D.N.Y. June 30, 2003)). The Government

has failed to establish a genuine doubt as to the correct applicable legal standard

here. Thus, it has failed to show the requisite substantial ground for difference of

opinion to warrant an interlocutory appeal.

      B.    Whether an Immediate Appeal Would Materially Advance
            the Litigation

      Even if the Government could establish a substantial ground for difference

of opinion on a controlling question of law, an interlocutory appeal still would not

be warranted here because an appeal would not materially advance the litigation.

In support of its argument that certifying an appeal would materially advance the

litigation, the Government argues that a successful appeal would obviate the need

for voluminous discovery and a lengthy trial. The Court is not persuaded.

      For one thing, even if an interlocutory appeal could fully resolve Clark’s

Amended Counterclaim, it would not “substantially reduce the unresolved issues

in this case” because there are still “numerous claims and other defendants who

would be unaffected by a favorable ruling on these issues.” German by German v.



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Fed. Home Loan Mortg. Corp., 896 F. Supp. 1385, 1398 (S.D.N.Y. 1995). On top

of that, a successful appeal by the Government may not even fully resolve Clark’s

Amended Counterclaim. As Clark argues in his opposition, “there is an issue of

fact as to whether some of the disclosures alleged in the amended counterclaim

extended beyond the publicly disclosed information.” 4 (Def.’s Opp’n to Mot. to

Certify, Doc. 320 at 14.) And if it turns out that the Government disclosed some of

Clark’s tax return information that had not previously been made public, Clark’s

Amended Counterclaim could potentially move forward regardless of whether the

Eleventh Circuit decided to recognize a public records exception.

       The Eleventh Circuit has also cautioned that the “proper division of labor”

between the district courts and the appellate courts is threatened by expansive

applications of § 1292(b), and that permitting piecemeal appeals by means of §

1292(b) certification is “bad policy.” McFarlin, 381 F.3d at 1259. Authorizing a

piecemeal appeal in this case would only further complicate already complex,

protracted litigation, which has been pending for nearly three years and gone

through multiple rounds of briefing on different claims against different

defendants. And at this stage an interlocutory appeal could resolve only a small

fraction of the issues in the case, at most. Under the circumstances, a detour to the

Eleventh Circuit would more likely delay rather than advance the resolution of the


4 In his opposition to the Government’s motion to dismiss, Clark asserted that “several statements
that appear in the DOJ Press Release do not appear in the Complaint.” (Doc. 218 at 18.) Even if
it turns out that all of the Government’s statements had previously been made public, or that the
statements that had not been made public did not disclose Clark’s return information, those
determinations will be inherently fact intensive.


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case. See Consumer Fin. Prot. Bureau, 165 F. Supp. 3d at 1339. Accordingly, the

Court finds that certifying a § 1292(b) appeal would not materially advance the

litigation.

IV.    Conclusion

       For the reasons stated above, the Government’s Motion to Certify

Interlocutory Appeal Pursuant to 28 U.S.C. § 1292(b) [Doc. 317] is DENIED. The

Government’s Motion to Stay Counterclaim [Doc. 318] is DENIED as moot.


       IT IS SO ORDERED this 22nd day of October, 2021.


                                    ___________________________
                                    AMY TOTENBERG
                                    UNITED STATES DISTRICT JUDGE




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